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UNITED STATES DISTRICT COURT [ee CALLY FILED
SOUTHERN DISTRICT OF NEW YORK DOC #

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UNITED STATES OF AMERICA
INDICTMENT
-v.-

19 Cr.

MICHAEL AVENATTI,

 

Defendant.
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OVERVIEW

1. The charges in this Indictment arise from a
scheme in which MIECHAR, AVENATTI, the defendant, abused the
trust of, defrauded, and stole from a client (“Victim-1%) by
diverting money owed to Victim-1l to AVENATTI’s control and use.
As described more fully below, after assisting Victim-1 in
securing a book contract, AVENATTI stole a significant portion
of Victim-1’s advance on that contract. He did so by, among
other things, sending a fraudulent and unauthorized letter
purporting to contain Victim-1’s signature to Victim-l1’s
literary agent, which instructed the agent to send payments not
to Victim-1 but to a bank account controlled by AVENATTI.

2. After receiving the money into that account,
MICHAEL AVENATTI, the defendant, used it for his own purposes,
including, among other things, to pay employees of his law firm

and a coffee business he owned, to make payments to individuals

 
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with whom AVENATTI had personal relationships, to make a luxury
car payment, and to pay for hotels, airfare, meals, car
services, and dry cleaning. When Victim-1 inquired about the
status of Victim-1’s advance fees, AVENATTI repeatedly lied to
Victim-1, including by stating that he was working on getting
the fees from Victim-1’s publisher, when, in truth and in fact,
AVENATTI had already received the fees and spent them on his own
personal and professional expenses. In total, AVENATTI stole
approximately $300,000 from Victim-1, and has not repaid Victim-
1 half of that money.

RELEVANT INDIVIDUALS AND ENTITIES

 

3. At all relevant times, MICHAEL AVENATTI, the
defendant, was an attorney licensed to practice in the state of
California.

4, Victim-1 is an individual who retained MICHAEL
AVENATTI, the defendant, to provide legal services in or about
February 2018. That representation continued until in or about
February 2019.

5. “Agent-1” is a literary agent, based in
Manhattan, New York, who was retained by Victim-1 in or about
April 2018 to represent Victim-1 with respect to Victim-1’s
efforts to write and publish a book.

6. “Publisher-1” is a publisher, based in Manhattan,

New York, which, in or about April 2018, entered into a contract

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(the “Contract”) with Victim-1 and Agent-1 for the publication
of a book by Victim-1.

THE BOOK PAYMENT EMBEZZLEMENT SCHEME

 

Victim-1’s Book Deal
7. As noted above, Victim-1 entered into the

Contract with Publisher-1 and Agent-1 in or about April 2018.
Pursuant to the terms of the Contract, Victim-1 would receive an
$800,000 advance, to be paid by Publisher-1l in four installments
as follows:

a. Publisher-1 would pay Victim-1 $250,000 upon
the signing of the Contract (the “First Payment”).

b. Publisher-1 would pay Victim-1 $175,000 upon
Victim-1's delivery and Publisher-1’s acceptance of the final
manuscript of Victim-i’s book (the “Second Payment”).

on Publisher-1 would pay Victim-1 $175,000 upon
the publication of Victim-1’s book and in no event more than six
months after delivery and acceptance of the final manuscript,
provided certain publicity requirements were met (the “Third
Payment”).

d. Publisher-1 would pay Victim-1 $200,000 six
months after publication of Victim-1’s book or completion of
certain publicity requirements and in no event more than twelve

months after delivery and acceptance of the final manuscript,

 
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provided certain publicity requirements were met {the “Fourth
Payment”).

8. Pursuant to Victim-l’'s agreement with Agent~-1,
each payment described above would be sent by Publisher-1 to
Agent-1, who would then pass the payment on to Victim-1 after
withholding Agent-1's fee.

9. MICHAEL AVENATTI, the defendant, assisted
Victim-1 in negotiations regarding the Contract. Although
AVENATTI’s retainer agreement with Victim-1 provided that he
could receive a fee for such assistance, AVENATTI subsequently
told Victim-1, in substance and in part, that he would not
accept payment or remuneration from Victim-l for any work
relating to Victim-l’s book,

10. As described further below, MICHAEL AVENATTI, the
defendant, engaged in a scheme to defraud Victim-1 by which he
obtained control over and embezzled the Second and Third
Payments.

The First Payment

Li. At or around the same time Victim-1 signed the
Contract, Publisher-1 sent the initial payment of approximately
$250,000 to Agent-1, who sent by wire to a bank account
designated by Victim-1 (“Account-1”}) a payment of approximately

$212,500, representing the $250,000 payment less Agent-1’s fee.

 

 
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The Second Payment

12. On or about July 19, 2018, Victim-1 opened a new
bank account {(“Account-2”%) for the purpose of, among other
things, receiving the remaining payments under the Contract.
Around this time, Victim-1 told MICHAEL AVENATTI, the defendant,
that Victim-1 did not want any further payments under the
Contract to be sent to Account-1, and that a new account, i.e.,
Account-2, was being opened to receive such payments. Victim-1l
did not instruct or authorize AVENATTI to receive any payments
under the Contract on Victim-1’s behalf.

13. On or about July 29, 2018, by electronic message,
Victim-l asked MICHAEL AVENATTI, the defendant, in substance,
whether he knew when Victim-1 would receive the Second Payment.
AVENATTI responded that Victim-1 would receive payment “in the
next two weeks,” because the Second Payment “comes on acceptance
[of the manuscript], which should be shortly.” Victim-i had at
that time already submitted Victim-1’s manuscript to
Publisher-1.

14. On or about July 31, 2018, without Victim-l’s
knowledge or authorization, MICHAEL AVENATTI, the defendant,
told Agent~1, in substance and in part, to send the Second
Payment to an account entitled “Avenatti & Associates — Attorney

Client Trust ([Victim-1])” (the “Avenatti Client Account”), an

 

 
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account that AVENATTI controlled and of which Victim-1 was not
aware.

15. On or about August 1, 2018, after Agent-1
responded to MICHAEL AVENATTI, the defendant, that Agent-1 could
not redirect payment to a new account without authorization from
Victim-1i, AVENATTI sent Agent-1 by email, which traveled
interstate, a letter that purported to be from Victim-1 and
appeared to contain Victim-1’s signature, instructing Agent-1 to
send all advance payments to the Avenatti Client Account (the
“False Wire Instructions”). Victim-1l neither authorized nor
signed the False Wire Instructions and, in fact, was not even
aware of the existence of the False Wire Instructions.

16. Between on or about August i and August 3, 2018,
pursuant to the False Wire Instructions, Agent-1 transferred by
wire approximately $148,750, i.e., the Second Payment’s amount
less Agent-1’s fee, to the Avenatti Client Account.

17. MICHAEL, AVENATTI, the defendant, did not tell
Victim-1 that he had received the Second Payment on Victim-1’s
behalf. Instead, immediately after receiving the first portion
of the Second Payment into the Avenatti Client Account, AVENATTI
began transferring money from the Avenatti Client Account to
other bank accounts that he controlled for his own personal and
business use. The funds were used, among other ways, for the

foliowing purposes:

 

 
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a. To fund approximately $57,000 of payroll
associated with the law firm Eagan Avenatti LLP (through which
AVENATTI also practiced law);

b. To pay in excess of $20,000 for insurance,
airfare, hotels, car services, restaurants and meal delivery,
and online retailers;

Cc. To provide $1,900 to an individual (“Client-
2") whom AVENATTI had represented in a lawsuit against the
County of Los angeles, California; and

d. To fund, in the approximate amount of
$12,800, payroll checks for a coffee business controlled by
AVENATTI.

18. By on or about August 20, 2018, only
approximately $625 of Victim-1’s Second Payment remained in the
Avenatti Client Account.

19. In late August 2018, Victim-1 told MICHAEL
AVENATTI, the defendant, in substance and in part, that Vaictim-1
had ‘not received the Second Payment and asked for AVENATTI’s
assistance in helping to obtain the payment, which Victim—1l
believed was late. AVENATTI did not inform Victim-1i that he had
already received the Second Payment, which had been sent by
Agent-1l into the Avenatti Client Account, or that he had spent

the funds for his own purposes. Instead, AVENATTI misleadingly

 
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and fraudulently told Victim-1, in substance and in part, that
he would help obtain the payment for Victim-1 from Publisher—l.

20. On or about September 4, 2018, Victim-1 sent by
electronic message to MICHAEL AVENATTI, the defendant,
information for Account-2. In that message, Victim-1 stated that
the information for Account-2 was “My new account info for
publisher,” which Victim-1 believed still had not made the
Second Payment.

21. On or about September 5, 2018, MICHAEL AVENATTI,
the defendant, received a payment of approximately $250, 000 into
another account that he controlled designated as the “Michael
Avenatti Esq Trust Account,” which previously had a near~-zero
balance. That same day, AVENATTI made a payment from that
account to Account-2 in the amount of approximately $148,750, so
that Victim-1 would not be aware that AVENATTI had converted and
used the proceeds from the Second Payment for his own personal
and business purposes.

The Third Payment

22, On or about September 13, 2018, without Victim—
1's knowledge or authorization, MICHAEL AVENATTI, the defendant,
spoke with Agent-1 and suggested that Publisher-1 should make
the Third Payment early, even though the Third Payment was not
due until publication of Victim-i’s book. Agent-1 relayed the

request to Publisher-1, which agreed to make an early payment,

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and sent the Third Payment to Agent-1, who, on or about
September 17, 2018, sent by wire, pursuant to the Faise Wire
Instructions, $148,750, i.e., the Third Payment less Agent-i'’s
fee, to the Avenatti Client Account.

23, On or about September 17, 2018, after receiving
the $148,750 of the Third Payment into the Avenatti Client
Account, MICHAEL AVENATTI, the defendant, began moving the
$148,750 out of the Avenatti Client Account into other accounts
that he controlled for his own personal and business use. The
funds were used, among other ways, for the following purposes:

a. To pay approximately $11,000 to individuals
with whom AVENATTI had reiationships;

b. To make a monthly lease payment of
approximately $3,900 for a Ferrari automobile;

c. To pay more than $15,000 in expenses
including but not limited to airfare, dry cleaning, hotels,
restaurants and meais, and car services;

d. To provide another $1,900 to Client-2;

e. To make approximately $56,000 in payroll
payments for Eagan Avenatti LLP; and

f. To fund approximately $12,000 in payments to
an insurance company to cover premiums for AVENATTI’s law firm.

24. As noted above, the Third Payment was owed to

Victim-l at or around the time of the publication of Victim-i’s

 

 
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book, which occurred on or about October 2, 2018. On or about
October 1, 2018, Victim-1, unaware that MICHAEL AVENATTI, the
defendant, had requested and obtained the Third Payment early,
asked AVENATTI, by electronic message, whether, under the
Contract, Victim-1 would be paid the following day, to which
AVENATTI responded, “Yes.” The following day, on or about
October 2, 2018, Victim-1 stated to AVENATTI by electronic
message, “publisher owes me a payment today.” AVENATTI did not
tell Victim-1 that he had already received the payment into the
Avenatti Client Account more than two weeks earlier, but instead
misleadingly and fraudulently stated, “On it. We need to make
sure we have the publicity requirement met.”

25. Later in or about October 2018 and in the months
between in or about October 2018 and in or about February 2019,
Victim-1, by phone and by electronic message, repeatedly asked
MICHAEL AVENATTI, the defendant, for assistance in obtaining the
Third Payment. At no time did AVENATTI state or indicate that he
had received the Third Payment, but instead fraudulently stated,
in substance and in part and on multiple occasions, that
Publisher-1 was withholding payment. For example, the following
exchanges occurred by electronic message:

a. On or about October 29, 2018, Victim-1 asked

AVENATTI, “did you ask publisher about my payment?” and noted,

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“Tomorrow it will be one week late.” AVENATTI responded, “Yes,
They are on it.”

b. On or about November 27, 2018, Vactim-1
asked AVENATTI, “What about the publisher?” AVENATTI did not
state that he had previously received the Third Payment, but
instead responded, falsely, in substance and in part, that
Publisher-1 needed a list of publicity undertaken by Victim-1l
before Publisher-1 would make the Third Payment. AVENATTI also
falsely stated, in substance, that Publisher-1 was resisting
making the Third Payment due to poor sales of Victim-1’s book.

Cc. On or about November 30, 2018, Victim-l, in
reference to the Third Payment, stated to AVENATTI, “let’s not
forget the publisher.” AVENATTI did not state that he had
previously received the Third Payment, but instead responded, in
part, “I haven't.”

d. On or about December 5, 2018, Victim-1 asked
AVENATTI, “When is the publisher going to cough up my money?”
AVENATTI did not state that he had previously received the Third
Payment, but instead responded, “As for publisher - working them
and threatening litigation. They need to pay you the money as
you did your part and then some.”

e, On or about December 27, 2018, Victim-1
stated to AVENATTI, in part, “I’m sending publisher a certified

letter demanding payment and firing [Agent-1]. Then I may post

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it online for fun.” AVENATTI did not state that he had
previously received the Third Payment, but instead spoke to
Victim-1 by phone and told Victim-1, in substance and in part,
that Victim-1 should not send a letter and should not fire
Agent-1 because Victim-1 may need Agent-1’s help in a lawsuit
against Publisher-1 to recover the Third Payment.

26. In or around December 2018, Victim-1's manager,
on Viectim-1’s behalf, sent an email to Publisher~-1 and Agent-1
stating, in substance and in part, that Victim-1 had not
received the Third Payment. Agent-1l then spoke to MICHAEL
AVENATTI, the defendant, who told Agent~1, in substance and in
part, that he (AVENATTI) was dealing with Victim-1 directly on
this issue and Agent-1 and Publisher-1 (both of whom believed
that Victim-1 had received the Third Payment and was seeking
early payment of the Fourth Payment) should not respond. Agent—
1, at AVENATTI’s request, then relayed AVENATTI’s message to
Publisher-1. Victim-1 received no response from Agent-l or
Publisher-1 until in or about late February 2019, as described
below.

27. During in or about January 20193 and
February 2019, Victim-1 continued to ask MICHAEL AVENATTI, the
defendant, by phone and by electronic message, about the status
of the Third Payment, and AVENATTI responded, in substance anda

in part, that Publisher-1 was resisting making the payment due

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to purportedly poor sales, but that he (AVENATTI) was working to
resolve the conflict.

28. In or about late February 2019, Victim-1 made
contact with a representative of Publisher-1, who told Victim-l,
in substance and in part, that Publisher-1 had previously made
the Third Payment to Agent-1. Victim-1 subsequently received
from Agent-1 documentation indicating that Agent-1 had sent by
wire Victim-1's share of the Third Payment (i.e., $148,750} to
the Avenatti Client Account on or about September 17, 2018.
Victim-1 also received from Agent-1 the False Wire Instructions.

29, Prior to receiving the False Wire Instructions
from Agent-1 in or about February 2019, Victim-1 had never seen
or signed the False Wire Instructions, despite the fact that the
False Wire Instructions bore Victim-1’s purported signature.
Further, Victim-1l had never authorized the drafting or
transmittal of the False Wire Instructions, had never authorized
MICHAEL AVENATTI, the defendant, to receive or use any of the
payments under the Contract, and was not aware of the Avenatti
Client Account. Rather, the False Wire Instructions (including
the use of Victim-i’s signature) were fraudulently created by
AVENATTI in order to carry out his scheme to steal funds

rightfully owed to his client.

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30. Victim-1 has not received any share of the Third

Payment .1
COUNT ONE
(Wire Fraud)

The Grand Jury charges:

31. The allegations contained in paragraphs 1 through
30 above are hereby repeated, realleged, and incorporated by
reference as if fully set forth herein.

32. From at least in or about July 2018, up to and
including in or about 2019, in the Southern District of New York
and elsewhere, MICHAEL AVENATTI, the defendant, willfully and
knowingly, having devised and intending to devise a scheme and
artifice to defraud, and for obtaining money and property by
means of false and fraudulent pretenses, representations, and
promises, did transmit and cause to be transmitted by means of
wire and radio communication in interstate and foreign commerce,
writings, signs, signals, pictures, and sounds for the purpose
of executing such scheme and artifice, to wit, AVENATTI devised
a scheme to obtain payments owing to Victim-1 under Victim-l’s
book contract by falsely representing to Agent-1, in interstate

communications and otherwise, that Victim-1 had given authority

 

1On or about February 14, 2019, prior to its due date under
the Contract, Publisher-1 sent the Fourth Payment to Agent-l1,
who, consistent with Victim-1’s instructions, sent by wire the
Fourth Payment less Agent-1’'s fee directly to Account-2.

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for payments to be sent by wire to an account controlled by
AVENATTI, by converting those payments to his own use, and by
falsely representing to Victim-1, in interstate communications
and otherwise, that the payments had not been made.
(Title 18, United States Code, Sections 1343 and 2.)
COUNT TWO
(Aggravated Identity Theft)

The Grand Jury further charges:

33. The allegations contained in paragraphs 1 through
30 above are hereby repeated, realleged, and incorporated by
reference as’if fully set forth herein.

34, From at least in or about August 2018, up to and
including at least in or about February 2019, in the Southern
District of New York and elsewhere, MICHAEL AVENATTI, the
defendant, knowingly did transfer, possess, and use, without
lawful authority, a means of identification of another person,
during and in relation to a felony violation enumerated in
Title 18, United States Code, Section 1028A(c), to wit,
AVENATTI, without lawful authority, used Victim-1’s name and
signature on the False Wire Instructions during and in relation
to the offense charged in Count One of this Indictment.

(Title 18, United States Code, Sections 1028A(a) (1) and (b),
and 2.,}

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FPORFETTURE ALLEGATION

 

35. As the result of committing the offense charged
in Count One of this Indictment, MICHAEL AVENATTI, the
defendant, shall forfeit to the United States, pursuant to
Title 18, United States, Code, Section 981(a) (1) (C), and
Title 28, United States Code, Section 2461 (c), any and all
property, real and personal, that constitutes or is derived from
proceeds traceable to the commission of said offense, including
but not limited to a sum of money in United States currency
representing the amount of proceeds traceable to the commission
of said offense.

Substitute Asset Provision

 

36. If any of the above-described forfeitable
property, as a result of any act or omission of the defendant:
a. cannot be located upon the exercise of due
diligence;
b. has been transferred or sold to, or

deposited with, a third person;

c. has been placed beyond the jurisdiction of
the Court;

d. has been substantially diminished in value;
or

e. has been commingled with other property that

cannot be subdivided without difficulty;

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it is the intent of the United States, pursuant to Title 21,
United States Code, Section 853(p), and Title 28, United States
Code, Section 2461(c), to seek forfeiture of any other property
of said defendant up to the value of the above forfeitable
property.

(Title 18, United States Code, Sections 981; Titie 21, United

States Code, Section 853(p); Title 28, United States Code,
Section 2461.)

 

 

 

 

 

 

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FOREPERSON : GEOFFRAY Pl BERMAN
United States Attorney

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

UNITED STATES OF AMERICA
= vv. —
MICHAEL AVENATTI,

Defendant.

 

INDICTMENT

19 Cr.

(18 U.S.C. §§ 1028A, 1343, and 2.)

GEOFFREY 5S. BERMAN
United States Attorney.

 

 

Foreperson

 

 

 

 

 
